Case 2:05-cr-20047-.]DB Document 35 Filed 08/30/05 Page 1 oj\2 Page|D 28

   

 

 

 

 

 

c.'A 7 LOCATION CODE
ov. 1134)
Fll.ED l`:‘»
` 05-20047~3 v’
05 AUG 30 pocket N[,_ 05-20_268-3
§ TERl\/IINATING
‘ \ _ r..: l\/IENT OF COUNSEL XE
SA vS. Charles Grnbb j m l ` '- andfol' Checl{
AUTHORIZATION FOR one or
DIS'I`RIBUTION OF both
AVAILA.BLE PRIVATE fl
FUNDS
WHER_EAS, the Federal Defender Was appointed as counsel for the
above det`endant/petitioner, on the 25 th day of Julv ,20 ns land
and lith day of May 2005

WHEREAS, the court finds that funds are available from or on behalf of the above named
defendant/peitioner for payment ot` compensation and expenses of court-appointed counsel and/or t`or other
services necessary for adequate representation, and that the above defendant/petitioner is therefore
financially able to obtain counsel or to make partial payment for representation, and/or for other services
necessary for adequate representation', 1

lT lS THEREFORE:

Checlc XX ORDERED that the appointment of said counsel is hereby terminated

 

 

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both [] A.UTHORIZED/DIRECTED that such funds in the amount of 5 be
paid by said de Eendant/petitioner or by
as t`ollows:

[ enter specific terms ofrepaymenr, i.e., date due U”lzcmp-Sum payment Schea’u£e and
amounts of each payment if iasta£z'mem payment.)

Defendant has retained private counsel (Mr. William "Bill" Anderson)
to handle both cases. `

5 4 HFW 6
Dated this 0 day cf , 20 9 .

  
 
 

 

nited"State§ Judgefl\/[Ylstrate

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With Flule 55 anchor 32(b

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20047 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

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Ste. 800

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Honorable J. Breen
US DISTRICT COURT

